_AO 187 (Rev. 7/87) Exhibit and Witness List


                                                  UNITED STATES DISTRICT COURT
                              EASTERN                                                  DISTRICT OF                                     TENNESSEE


                                      USA
                                                                                                                  EXHIBIT AND WITNESS LIST
                                V.
                         JOY HILEMAN                                                                                   Case Number: 2:19-CR-87-1

 PRESIDING JUDGE                                                       PLAINTIFF’S ATTORNEY                                   DEFENDANT’S ATTORNEY
                  CLIFTON CORKER                                                      ROBERT REEVES                                       DOUGLAS PAYNE
               TRIAL DATE (S)                                          COURT REPORTER                                         COURTROOM DEPUTY
                       JULY 23, 2019                                                             DCR                                       KIM OTTINGER
 PLF.      DEF.         DATE
 NO.       NO.         OFFERED          MARKED        ADMITTED                                             DESCRIPTION OF EXHIBITS* AND WITNESSES

                      7/23/19
      1                                     X              X          PRETRIAL SERVICE REPORT (SEALED)
              W                                                       STEVE HILEMAN




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                      Page 1 of     1   Pages

          Case 2:19-cr-00087-PLR-MCLC Document 35 Filed 07/23/19 Page 1 of 1 PageID #: 74
